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1
2          UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF NEW YORK
3          Case No. 1:22-cv-00983-VEC
           ----------------------------------------x
4          NIKE, INC.,
5                                          Plaintiff,
6                     - against -
7          STOCKX LLC,
8                                          Defendant.
9          ----------------------------------------x
10                                     February 8, 2023
                                       9:48 a.m.
11
12
13                  VIDEOTAPED DEPOSITION of JOE PALLETT,
14       located at Debevoise & Plimpton LLC, 66
15       Hudson Boulevard, New York, New York 10001,
16       before Anthony Giarro, a Registered
17       Professional Reporter, a Certified Realtime
18       Reporter and a Notary Public of the State
19       of New York.
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                csford@debevoise.com
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22         ALSO PRESENT:
23                  ANTON EVANGELISTA, Videographer
                    KIMBERLY VAN VOORHIS, ESQ., Nike
24
25

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                                                                       Page 43

1                                       JOE PALLETT
2                   A          I was promoted to become the
3        director of connected product brand
4        protection.
5                   Q          Is that your position today?
6                   A          My title has changed to
7        director of authentication and
8        innovation.
9
10
11
12                  Q          So let's start with your
13       original title:              Director of connected
14       product brand protection?
15                  A          Yes.
16                  Q          What was your role?
17
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1                                       JOE PALLETT
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16                  Q          Going back to the beginning
17       of the deck or closer to the beginning of
18       the deck -- actually, let's look at the
19       page ending at 620.                It says, "Nike is
20       the most counterfeited brand."
21                             Do you agree with that?
22                  A          Yes.
23                  Q          And that Nike is the top
24       selling sneaker brand on the second
25       market.

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19                             MS. DUVDEVANI:               Objection.
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1                                       JOE PALLETT
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3                              MS. DUVDEVANI:               Objection.
4                   A          No.
5                   Q          Why not?
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